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                           UNITED STATES DISTRICT COURT
                                                             FILEObyPG oc.      .
                           SOUTHERN DISTRICT OF FLORIDA
                            Cause N0: 1:17-CR-20275-UU          N0V 27 2212
                                                              STEVEN M.LARIMORE
                                                              ctERx u-s DIsT. cT.
                                                               s.o ofFtA .- MI
                                                                             AMI
UNITED STATES OF AMERICA
     Plaintiff

VS


KEVIN C. FUSCO
     Defendant

                             NOTICE T0 THE COURT
Attached, Please find, argument currently before United States District court
of Alabama;

For the record, this forum. does not lawfully exist pursuant to the Mandated
Constitutional ''Bicameralism'' clause, of the United States Constitution.

Defendant, cannot even lawfully approach such a forum, when in fact, and law,
it is not a lawful Article 1II ''established'' ''inferiorn court, for criminal
process.



Submitted this 15th day of October 2018
     ze



Kevin C Fusco
Frisoner of Har
Unlawfully Detained
Maxwell Airforce Base
Pontgomery , AL 36112



 CC ECF
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                           UNITED STATES DISTRICT COURT
                            MIDDLZ DISTRICT 0F ALABAMA
                                MONTGOMERY DIVISION



Frank Pa te
David Webb                                            cause N0(
                                                              's): :8-cv-83jFusco
Thomas Bowman                                                       l8-cv-8A0Pate
Kevin Fusco                                                         18-cv-841Webb
      Petitioners,                                                  l8-cv-866Bowman

VS.



President Donald Trump, et a1 .



                          RELATED CASES AMENDED PETITIOXS


APPEARING now, before the courts, Petitioners, Pate, Webb, Bowman and Fusco ,
do hereby enter this related Amended petition.   '




                          CONSTITUTIONAL HARMS CLARIFIED


Each Petitioner. stands on the following argumentts) as to Constituïrional
injuries, bringing about unlawful convictions;                     abundance of
caution, the Petitioners first address their inability to lawfully file a
5 2255 Motion with their respective sentencing courtts);

     1) According to 5 2255, a ''Prfsoner ln custody under sentence of a court
î:qabiishçd by Açt of Cqnsmess...-.'f is permitted to file a motion to vacate
with such lawful court.


      2) Petitioners allege and provfde argument and proof, that each of their
respective ''sentencing courts'' are not lawfully l'establlshed by Act of
Congress-e-'' (See Exhibit A to this petition)

         Specifically, the 80th Congress, failed            lawfully HBicameraltf
passage of the legislative work, knov         ''Titte 18'' (HR 3190); in detai1,
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                         provide evidence of their approval, and esqablishing
                         District Courtts), then the records must reflect :s
 they do. No such establishment of Dfstrict Crsmlnal courts Look place .


     4) Lacking       lawfully established ''Sentencing courtf' the Petitionerq
have no effective remedy available to them in any other forum than this one.


     5) additionally, any action attempted with the Judicial officer of each
Petitoner currently unlawfully sentenced, in reliance on j 2201 or j 1651
Motions, has failed to yield appropriate reliefls).

     6) Clearly, the officers who unlawfully ''sentenced'' Petitioners to
imprisoauentts), without being Congressionally established    courts, and
Constitutionally supported, violated Petitioners rights on multiple points;
any reasonable person would expect such improper conductls)           repeated
bv the such officers in the event of a ffHabeas Petitoin'' under 2241, and
further, 5 2241 requires the District of Detention; this is the
Jurisdictional basis of each Petition before this court;


     7) Further as to the Constitutionally guaranteed requirement
''standing'' being proven, each petitioner relies on the same base argument
as prior noted for the records; the District ''courttsr' which unlawfully
entered a Judgement of conv iction against each Petitioner did          direct
violation of Article III Judicial Powers ''extensionstk specifically, since
the United States, on each underlying case, failed to allege, or prove any
Constitutionally required ''injury in fact'' by the Petitioners alleged
''criminal conduct'', the Judicial Powers of Article 111, were never lawfully
accessed; any judgment ls simply VOID.

     8) Petstoners FUSCO, BOWMAN and WEBB, each Tlead guilty under duress,
and fear of lifelong sentences if they took their charges to trial.         is
a direct violation of Due Process and Right to Trial protections, as argued
by the Supreme Court in MIRXNDA v Arizona;


     9) Petitioner PATE, took his charges to trial, and the United States
failed     produce sufficient evidence to sustain the Wire and Mail fraud
charges; the records fn his cases further show the 5th Circuit court of
appeals, failed to review or affirm any convictions; clearly due to lack of
evidence; addftsonally, N0 OStanding'' was ever alleged        behatf of the
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           PlalptW f in the underlying criminal 'fabstractsf'; this does not comport with
           the Supreme Court holdings on this doctrine of law; (See, Spokeo v Robins
           134 S.Ct 1540)

                         This court and the Higher court have long recognized, that in order
                   lawfully access Article III Judicial powers, the Plaintiff must have
           experienced an actual injury, particular :nd personal to the Plaintiff. Third
           party allegations of injuryls) are not sufficient to sustain ''standing'' nor
           receive Federal Judicial reliefts);

                          adding to this, the underlying ''criminal courtsn, do not lawfully
           exist; any Hjudicial decrees'î do noe hold the weight and authority of the
          Pnitnd Srmtes Copstitution and are effectively, Hcounterfeit'k


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  -                   .                .-   ...R.E.yJ.E.F..R.
                                                            E.Q.
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                                                                     D..=   . ..   . z=.=   = = =   . . ...   - .. .-   .. .. .   .   ..




          Petitioners are requesting an immediate ''show cause'' order to be subm itted
                   the respective parties       this suit,            named in the certH icate
          interested parties, and to provide a hearing ''forthwith'' (no later then 21
          days from this date of petitioners requests);

          Petitioner are expecting this court to follow the laws and the constitution,
          as         is l.
                         v itten, and provide their Constitutionally protected rights, and
          prcvide hearingls) on these issues, and their immediate releasets) to ensue
          forthwith.




          Su ittedonthe )2thdayofOctober2018
                                   t
                                 z'.
          &    -     y


          Frank Pate
           .

                   Xu. p ysuz....
          David Webb
      %

          Thomas owman
               A


          Kevin Fusco
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                                  EXHIBIT A




                                  IV YI11 Z===,-= =---
                                                     ... -;
                                                          ;=,:...- - ..E=   .= -.- =   .zrcv-,- - ..v c.sc.= - v . -.-   - -   -   - - -   -
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                                 BICAMEEALTSM CLAUSE VIOLATION
   0n May t2, 1947, Title 18 was pfeseateê               Congress f
                                                                   or passage; No record
      evideace exists, in fact, showlng ER                      was pre
                                                                       seated, was passed with
   full aêherenze to the Constit
                                utionally daniated requirements of Bi
                                                                     cameralism ,
                                      2. Aecording to MWAA vs QAAN               LED 2D 236
                                                                                              ,   501


   Bill. Citing: ''Although Coagr
                                       ess wust foliov the bicamertisa .and preseataeat
   requirameuts when tnka-ng actton Lh at has the pupose of altering the l
                                                                                              egal rights,
   dutiesx ani relatious of pers
                                     ons outside the legislative braach , Cocgress has
   the pow ec to manage its ov'a aff
                                        airs without           eomplyir-mc A th v-
                 R           ' ' '' UU: = 'UU.
                                             U U X .U '' ' '- '
                                                            ''''' '   '        sc k
                                                                                 . ws...cn
                                                                                         ..
                                                                                          -.- .-         -   .- - .

   of Artiele 1. Sec 7 . C1 . 2 . ''      further reliance, Petttioner woulâ êirect this

           to EDWARDS v UNITED SIATES            LED 1239       286       &B2, whiah states
                                                            ,
                                      '
   Cougress IN ST be perfeet          its acti
                                              ons: !!The
   requires the performance of every aet neccssary Uo teh enactment and approv
                                                                               al
   of laws to be perfect before the
                                             adjounnaeat of coag-
                                                                cass.''
                                  EATK IEST CASE LAW CONTROLLING
   Petitioner directs this
                                                                                froc Supreme Court
       teh long standing , FIELD          CLARK ,     LED , 1A3 US 6:9, Citing: ''The argument

                                                  a Bikl, signed by             Speaker of the Eouse
    of Representatives
                                                                            presenteê to and approved
    by the President of tbe Uaited States
                                          , and âelivered by the lattec to the Secreta
                                                                                      ri
    of State, as an act passed by Congress. does not become a
                                                               taw of the United
    States if it haâ aot in fact been passed by congress
                                                          .'
                                                           ' The Court further noteê:
    ''in view of the express r
                               equireaents of Lhe Coastitutioa y the cofreztness
    of this general statem ent cannot b
                                        e doubteâ/' Articke    Sec    Cl.   in part
     states: ïfBut in all sueh cases the Vot
                                            es of 80th Eouses skmll be êetcrma-red
    b
    - y yeas an1 naysa and tve
                            h names of Lha Persons votinp fo
     shali be euter                                        - q and l/ma
                                                                      enst the YT1A
                                                                            -
             '        ed- on- - tha
                                 '  Wq
                                    -
                                      oarnais of' each goupe respçctively- ''
                                      -
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 Tlle Def'
         e'àd'
             atft-Q'ö-
                     tizd.''
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                            X v 'ifé.fe*-'Elié 'Cbt.J
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                                                                              'q- ç'
                                                                                   Jz'
                                                                                     t-*'-o'g'f''''-*'W ''-' '
                                                                                            kî'
                                                                                               , whkutlh îs' '
                                                                                  .



  the recently receiveâ Eouse Journal of House of Puepresentatives
                                                                   , dated,
  12 May, 1947, the allegeâ date of th
                                      e allegeâ passage of ER 3190, known as
  ''Title 18''

  Pursuaat to Rule 20t in full , of Fed . Rules of Evidence
                                                            , the Defendant would

  have the court Judiziatly Notice the Exhibit A
                                                 , and most importantly notice

  n.
   o evidence n'
               ra-sts of names of person
                                                         s who voted. yea o'
                                                         .
                                                                           c uay , as requ- ireud.x    -   -


               N0 AUTEORITX OF PRESIDING OYFICERS TO SIGN 0R ATTES
                                                                  T
  Furtber in the Field v Clark aase, the Supreme Court makes it very ckear th
                                                                              at
                            then it ls N0T law , evea if signed by al1 parties in
  a fl e..-... !! ' '
             ..-.-..---              -   <
                                             o--lawW!P.here
                                                          . --
                                                            .1s-c-:to'-,
                                                                       - 4z ort   'q.                      -.- . .             -
                                                                                      n''t 1-p'
                                                                                              tt'étt
                                                                                                   lffki UfC-W ers
           Eouse  Reprasentatives and the S
                                           enate to attezt by their siwaatures , nor
  the President to approve ,       the Secretary    State to receive and ca                                      use
  published, as           legîslative act
                                                  ,   any Bi1A not passed by Coagress- '' The records
  unêer exhaustive review , show ,                           such Npassage'l was evidenced,

  Constitutionally Mandated requirementls) of Article                                        CI. 2. Article


  other words, lacking in strict adhearence to Hexpress
                                                        requirements'' beiug foLlowed
   (Fielâ v Clark as cited),
                                                                                                 rezorâs shoking,
   to authenticate, that Congress ,
                                                                                                     properly with
   ''
    yeas and nays, and the names of the Persons voting for and agaiast the BillT'
                                                                                                                         and
   siacg thc Records are void                    such Copstitutionally Mandated requiremea ts                           shovtn:
   recording          (''Sha1l be entered on the Journal of each Ho
                                                                   use respeqtive.ly'î) ttaea
        fact, we have no constitutionally ''passed'' legislation
                                                                                                                     presentment
    In other words, we have NO VALID LEGKL
                                                              PASSAGE OF > 316:
                                                                              0,
         when signed by Harry                  Truman , on 25 June,                     Therefore,
                                                                                                     since 3231, was/is
    listed as the Jurisdietional                             for this             and
                                                                                             clearly aot valid, then
    this             has no other option
                                                               recognize such , and dismiss the charges
    lacking in jurisdiction over ''a1l crimes against the Laws
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          M QUIREIG NTS 0F CONGRESS IJPQS J.N ENA CTMENT OF PPUDPOSED LAW
   Xccorêing to CYAPX , t*e Controlkiug Case in thi
   for tke preseutmenf öf legislation are precise  s arguments
                                                     and exact;the requirements

      ''Xctording to the theory of ouè legiskatîon, when a bill hhas become a l
   there must be a reeorê of every materiai                                    aw,
   i                                          requiremeat, from iLs introiuction until
    t beeomes a law . Aàd tbis evidence is found upon the journals of the tv
                                                                             o houses-''
   This stateoent, by tke Supreme Court tn Clark (relying'on Plopke v Stfa
   makes it ekear                                                           ne 35 Ill l21
                   , that '
                          lacking &n proper. Coàstitutiooak Proceâures, and adherenees
   a'Bilt cannot be'made a ''Law''                                                     ,


    furthtr:

       ''Nanting this ob.
                        edienae to aad coopLt
                                              aace wtth the zteacly expressed essential
    reqlzsreaentt of tht Coastitution ia respàeL to what is nezassazy in ocder for a Ba'11
    to b*come 'a law , the whoke statute'ts a nllllq'tv 0ï' See F'e  7
                                                           = '    - - - -   -   '''- - ''- ' -   - '-   '




    Suyrtm e'
            .'c:urt case law , furtYer assures
                                                        tha'
                                                           t when the Passaae, lazks in the
    11material requirew
                     ' autsIt,
                                                                                                            VOTD.
    This is the crux of this argumen t in this motion. Title
    Jurtsdictt                                                . 18 USCS j 3231, (Original.
              on S
    Proof of NAFG Statute) is a I
                                R V LITY, due to the lack of the Eouse Journ als offering
                    of PERSONS votingv 'FoR'an'
                                              d AGALNST'' the Bill , known as RYv 31j0.

          EOUSE SPEAKEPU M O PRESTDENT PR0 TEMT OPUE SIGNATIJRE S ATUE IIW A
                                                                            -LLD


    In the event, that this court attempts to finâ a ruling êenying this claim
    to the allegeâ                                                             , due
                   signatures of thh officers of Senate and E
    remind this court, that the Supreme Court                 ouse, this party would
                                              found the following in Marshakl v Clark;
                                                    .




        ''The stgaing by the ypeakec of the q
                                               ouse of Representatives, ani 'by the
     President of th'e Senate , in apen scssioaa of an eazolle; bill
                                              --;                     , is an official
     attestation by the two Bouses of such bzll as oae that ha
                                                                 s passed Coa gzess.l!
     The Appellant woulê remind this
     ''
      :in open session'' An exhaustive review of the recorês, shows that signatures on
     record by Rouse anâ Senate (Speaker an; President Pro tempore) were done, after
     Session ended, and the Eouse adjourned . Sine die. June t9, ïùk8 .
      This sbows clear eviêence on the reeord , that parties weze knowingly ia violation
      of the Marshall Case, and Supreme Court rulipgy.

      Eve
      S n if the ENACTMENT process (Names of Person voting Yea and lç:y), the President
       eaate, and Speaker of the zouse offered signatures to attest to a Bill being d
      earolkeà and ?passed'' in conformity of the M adates                           ul)
                                                         , and *id so , with full knowledp
      of the Incorreetness of the passage . As evidencë by the Journak Reco rds
                                                                                .




                                               L
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  Further in Fiild'v Clark, the Court made it elear , that 7m less aay coatrary
   evideace appears , thea the Bill ''passed Congress'' : Citing

        ''It is aâukitted that
                               an enrolled Act, thus authenticated gopen session sipaature
   is sûffieient dvid.ence of itself - aothsng contrary                                   :
                                                         appeariag upoa fts fact - that lt
   #assecl congress .''

   The records, ezearly reveal , that 'leoatrary to'' A= tieLe                          l4aaêates ,
   the ''aames of persons vottng for anâ against the Bill'' were not                     eatered
   as con stitutioaally Requizei . tushall be entered in the Bouse Journaks Respecttvely'q

   Puelianee on any other                                               i
                                                                         s 'not supported bynexisttc
   Case lzw , and in fact
                            ,                                                                    tke
   11                       .
            '      '

   Jouraals Respectivekyjy(Art seq 7, cL. 2)
          5.''                 '. . '
                    ''..' ' .. i    'But r'
                                          e.feri-ng oaly to Iruattars vb-ich the coastitution ctoe.
    r                                                                                              s uo'r
     eqT
    th Ta're   to entered          oa the jouruaxs,   it is ctear that this is not a statutory declara'
    inat  the journàl     .s 'are the htghest evtêeace of all that oceurs tn the pcogress of bûs
       the respective houses ''  .


    This ruling makes it clear , thatltlàil Constitutional Yaniates aust be fokloweê
                                                                                    , whe

                                                                         2 of Art'
                                                                                 . !)
                                          Eouse Journals whea dealing with such Conskitutional
    Mand.ated ''viokatioas'' brougbt forth in challenges by parties
                                                                    .


                                        RULING PER FQEL'D

        Accordingly , the Eighest                                         it clear ia Fialâ that
        when a ahallepge is brought forth , the court must ''take notice of it'' aad to

        'la-nform.itsekf the best way it ean a that tkere ts ao plearby which its pvsstenee

        eau be Tut in issue and triei as a questioa of fact - l' Clearly Eekying on the faztE

        as resented, this eourt is required to ''take notice'' of the Challeage to the laws

         kaown under HR 3190, Public Law:
                                        z80-772, and in reliance of this Countrias Eigher

         Cburt rulings as noteâ, finâ, froa                               18 PSCS j 3231, was never
         Constitutionally Enakted, and is a ''aullity'' (see Field v Clark) based on the Pley
         antered, and the Facts of the recordts)
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                               MOP.E RECENT RIJLINCS IN SUPPORT
  In-the.ln.cL firoui.t l.n .2.007 s Relyiug.-on .t'h e. Sup'
                                                            r eme Court case '. ' Clilnton v '-
  New York, 52% US Yl7 448 , 1l8 S.CT . yAl L .
                                                      Ed 29 399 (19j8) as Cited in
   0ne Simple Loan Y Vnited States Sec. of Eêucation (2007) 496 F
                                                                  . 3d (2nd Cir)
   made it elear and evident that ''A Law ha
                                            s beea enacted in conformanee with this
   constitutional manêate only tf (1) a bill ûontna'naeng it
   by a majority of the wexbers of the Eouse of Representatives
                                                            s exact
                                                                  u
                                                                    text vas approvei
                                                                                -


   The same Circuit, also cited an earlier mention to S
                                                       . CT INS v Chadha, è62 DS


   77 LED 2D 317, 103 S.
                            CT. 2764 (1983) stating that:
   ''The fact that a given law or proc
   facilitating functions of government
                                      edure is effeeient, conventenè, an* useful ta
                                         staading
                                                  alones will not save it'if it ts
   con.
      trary to the Constitution . donvenieaee and efficieacy are not
   -- or the halqonrk     -- of demoeratie governm eat. l'           the prq'xary objectiv!
                                                                                        .




   FrOm the 5th '
                Circuit, the Authors' Eome Circuit of his Criminal Case the eourts
                                                                       ,
                                                          &         -       -   -   -
    oun In a e In t e USA v Tnitez jtates i&2 F.3* 1300 oa vacate and remauâ:
   ''Accoriing to tYe Court, such an action w as esseutially legislative and sho
   therefore                                                                    uld
             , be subject to the Coastitutioaal requirements of bicamaral
   wojority vote anâ prese     ntment to the Presideat.''
                                                                           passage by

    The jth Circuit Court also found:

    ''Thus although the Court recognized Congress's plenar, poger                       legislate in the
    area of immigratlon, it held that sueh power was scaell
    in cxuded in the text of the Coastitution and Lo judicial
                                                            subject
                                                              reviewto ln'on'tations
    th                                                              .'f (in reLiance
       e Cha*ha Courto)                                                           '
    Case laws show a reasonable person , that, lacking

    of constitution llauâates (.2n; qir 0ne Simple Loan relyiaw of Cltnton)
                                                                           ,

    lika Ln Field, as earlier addressed in

    waslis) in fant,        legal ''nulljzty''r and cannot stand        -



                                             TITLE 1 j
     Under Title l 5 106, in part,                            30 July , 1947, Congress had a bill
     presented to the President for enactment, which in fact , addressed the ''passage of

     Bills.n It states , in part,             any bill ''shall be engrosseâî' an* the Oshall be
     signed by the Clerk of the Bouse'' and then it is to be ''sent to the other House.''

         summary, the passage of any Bikl must folLow these steps and, of course, the

     Constitutional l4andates first. This arèument presents that sueh adherances were not

     maintained, constitutionally or statutorily .
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                                        SIJPPUEIV    COURT EOLDINGS


                The Supreme court, of the United States , has made many holâiags as to the

                specific and precise requirements of bizameralism anê presentm
                                                                                                                        ent. In Chadha,
                the court, made it elear that Bicaa eralism w as ac Hexpress''
                                                                                                                    requirement
                NBut in Chaâah s unlike these caseé our decision rested oa the Constitutions
                expregs bicameralism and presentmeat requiremeats. '' As relied on in Prirtz v
                Znitei States, 138 LED 2D 914, 52t PS 898.

                The Court. further stated that when a ''bypass'' of Article                                             7 requirem ents are

                made thea the Coastitution has been violated: ''When the executive aad the legislative
                agreed 'Lo bypass
                            Eh    the Artieke L b 7. requireaeats of bieamecakism aaâ presentaeac 'tke
                court hel;    at the arrangeaent violated the Consticutioa - '' As relied on in Wellness
                Intd lqetwork LTD vs Sharrif.
                            .                   .
                                                            '
,   ,   .                                           'UXUU .
                                                          UH U   V-U   = ZU CU UX'U UV'-.C-ZW-' ''''U XQC...-X -   '-   ' ''- - rj
                                                                                                                                 -zrz-k
                                                                                                                                      'z-c-
                                                                                                                                          'zz-z-ynz-z-:''''''-'   --
            .       <
                Th at Bicameralism is a ''finely u= ought'' process is                                in question , in th e eyes of
                                                                                                                        .


                 the court: ''Passing legislation is no eas- g task . A federal statute aust withstand
                 the ''Tinely wrouyht'' proceâute of b icamernAssm an; preseatw eut - '' IèqS v Chaâha as
                 relied on in l92 LED 2D 463 ZS Kimble v Marvel Entnt, LLC

                 The Court also made it clear ,

                 NArticle I 's precise raies of representationx member qualificationsa bicaaeralssm
                 and voting prociure make Coàgress the braneh aost capabke of respousive and ielibera
                 ing lawmaka-ng-'' See INS v Chadha Supra at 951.

                 When the Supreme Court of the United States makes such holâings, any lower court has

                 elear anâ precise 1aw to rely on in its ftnâings on any challeage to Bicarmeakism;

                 The Supreme Court found that bizameralism is a ''manêated proeess'' : ''Bu t statutory
                 provision-not purposes- go through Lhe proeeàs of bicarmerlisa and presentment aand:
                 by our Constitutionï' As reliid on in l92 LED 2D 514 , DS TEX DEP 0F Z0U S & CONTG AFF.
                  vs. lnclusive C. Project.                                                                                                                       '
                  an* in furthereance of the need of kicameralism, the Court stated ''Entlateral actic
                  aay stagle participant in the law-making proçess is preeisely what the Bicameralisw
                  Presentm ent Clauses w ere lesigned to preveut- '' See Clintoa v City of N ew York, 1Al
                  2D, 393, 524 ES :17. and then in further support;

                  t'It akso improperly ''delegates'' legiskaLtve power to itself when it au thorizes
                  itself to act without bicameralism an; preseataent- '! See Chada as relied on in
                  191 LED 2D l53 US D0T vs Am . and Lastly, the Couzt found:

                   ''And even more troubling the Npreemption-by-silence'' rationale virtuaoky amounts t
                   legislation by defxuïta in apparent violation of the Constitutionai r equirements c
                   btcamernla
                            'sa aud presentmeat.'' See l37 LED 2D 852, 52O US 56A Camps Newfound/owat
                   vs. Rarrison .
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   comins fzom ''The Federalfst No 58 at 396'' llames Iladisonlllaeob E. cooke
   Madisoa saiâ: ''In al1 cases where justiee or Lhe general good might require aew laws
      be passeda or activ e m easures to be pursu ed r the fundamental principle of free

    govetnment would be reversed . It wouii'ao longer be the majority that vould n'le;

   the'power woul: be transfered co the aa'norit
                                                y.'' (In explaining wby 'supermajorityî
   votes'were inapropriate for :he passage of legislati
                                                               on)
    In DC Circuit Court of Appeals,
    110 F .3d 831 Skaggs vs Carle                                                         S8e

         Chief Judge Edward in Dissent offered the following :

    ''Io deèet= i.ne the meaning of ''passed'' unâer the pzesentaeat clause
    to the iatent of the Framers of the Constitution                        , 1 Look
                       '                                  s as well as supreme Court
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    uaderlying ot                                               m.-w-
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                   tr Constitutional democracy -- r kes it elea.r that ''passed'' m ear-
    ''Passed. by a.vlajoritys''                                                         s

         Chief Justice Eclwards

    ''Although the word ''passed'' is not defined explicitly , an anaylsis of tbe framers
    intent and Suyreme court preceâent demonstrate that it
    The wajority passage n v1a is aot a m attaabte iefault positionu
                                                             means passed by a majority.
                                                                     . Tt is an unalterable
    couscitutionax rigkt -''

     Further the court stated that the presentmect elause: ''requires acting tu coaforma'tn
     with the expcess procedures of the. constitution 's prescription for legislative
                                                                                ,
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     passage by a majority of both louses an; presentm                                            l
     (                                                 ent Lo the'president. Iê at 958
      enphasis addedl'' ( When referiag to INS v Chadha, aLso eonsistest with Enited ltatt
     vs Batlin, l&4 U.S. 1, 36 L.Ed 321, 12 S. Ct 507 (1892)

     1n reliance of        the   aforementioned case       Constitutional Law , and Statutory

     law, the Party siKply leaves this court with the following questions:

           1) Can you honestly say , by the refcorês, that a Legislative biil was
     passed, in complete compliance of Article 1, See 7, C1. 2?.-
           2) Can you honestly say, from the 12 May 1ji7 Eouse Journals, WE 0 were
      persons who uvoted yea or na-
                                  / '? Ayâ how many there were?

      Without proper . and preeise                                              i
                                                                                 s no better
      tben the tyranny froa whieh we bxoke away fxom m any yeazs ago. It           towered down
         a nation of only a few, telling the majority what to            Eow is that, a free,
      democractic , soeietyî
Case 1:17-cr-20275-UU Document 43 Entered on FLSD Docket 11/28/2018 Page 13 of 24




   Gran ting to the Petitioner , the requested

   Motion to dimiss ALL Charges against Petitioner GRXNTED , due to Consitutionally

   lfandated, Article     See 7, C1. 2 Violations on the Passage of HR 3190 and

   lack of record votes and persons voting, being recorded into the House Journals

   of ''each House                                         ia contrast to the Constitutioa

   we do not knöw , and will never know , Who the persoas were, allegedly passing the

   Bil1, oa 12 May 1947; and further, the future will never know , .how many representativ

   from how many states, said                                              on that fateful

   day , for the records show , no such evidence

   The Coastitution, Ss the ''Supreme Law'' of



    the petitioner has clearly shown , the LXW (of the Coastitution) was uots ia           as
    requtred, fotlowef , on the âay of 12 Yay 1947. Therefor, any eaactments of lawls)

    that day , are in fact, Illegal ,                                             be VACATED .


                                PV LIEF REQDSTED
    GRXNT i=meiiate DISKISSAL of all charges against this Petitioner, as they have

    been hanâed êown agaiast him , lacking in Coastitutionally mandated, anf precisely

    followed passages, as      his right, per the Vnited States of America Constitution ,

    unêer Article 1, Sec.



     Subaitted this



      Pro Se
      9595 W.ouincy Ave
      Littleton , CO 80123
Case 1:17-cr-20275-UU Document 43 Entered on FLSD Docket 11/28/2018 Page 14 of 24



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       Eric M ae ews
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              CERTW ICATE OF INTERESTED PARTIES 0N RW ATED CASES



 PATE : 18-cv-840


      1) President Trump
      2) AG Jeff Sessions
      3) Judge Amos L. Mazzant,
      4) Warden Walter Wood, FPC Maxwell

 WEBB : 1X-cv-:Jt1


      1) President Trump
      2) AG Jeff Sessions
      3) Judge Claude Eilton
      4) warden Walter Wood, F#2 kaxwell

 BOWMAN : 18-cv-866


     1) President Trump
     2) AG Jeff Sessions
     3) Judge Leigh Martin May
     4) Warden Walter Wood, FPC Maxwell

FPSCO : 18-cv-839


      1) President Trump
      2))AG Jeff Sessions
      3) Judge Cecilia Altonaga
     40 Warden Walter Wood, FPC Maxwell
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        UNDERLYING CRIMINAL CAUSE NOHS AS REQUESTED F0R PETITIONER PATE

 4:14-CR-00125-ALM Eastern Distrfct of Texas
 15-41484 5th Circuit CA
 16-40481 5th Circuit CA
 17-40510 5th Circuit CA
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